Case 2:21-cv-02382-GAM Document1 Filed 05/25/21 Page 1 of 20

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BERNEDA GILMORE
CIVIL ACTION NO.:
Plaintiff,
JURY TRIAL DEMANDED
v,

LASTWAGEN INTERNATIONAL, INC.
and KEITH MCGUIRE

Defendants.

 

DEFENDANTS’ NOTICE OF REMOVAL
PLEASE TAKE NOTICE that defendant, Lastwagen International, Inc. (“LIT”) , by and
through their attorneys, Salmon, Ricchezza, Singer & Turchi tip, hereby remove this matter from
the Court of Common Pleas, Delaware County, Pennsylvania, to the United States District Court
of the Eastern District of Pennsylvania pursuant to 28 U.S.C. Section 1441 et seq. and in support

thereof aver as follows:

REMOVAL IS TIMELY UNDER 28 U.S.C. § 1446

1. This action was initially commenced by Plaintiff, Berneda Gilmore (“Plaintiff”),
with the Complaint having been filed in the Delaware County Court of Common Pleas on May
13, 2021 and docketed in the matter entitled Gilmore v. McGuire and Lastwagen International,
Inc., No. 2021-2397. A true and correct copy of Plaintiff's Civil Cover Sheet, Summons, and
Plaintiffs Complaint is annexed hereto as Exhibit “A”.

2. The undersigned received a copy of Plaintiff's Civil Cover Sheet, Summons, and
Complaint by way of electronic filing on May 13, 2021.

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3. Defendant Keith McGuire has yet to be properly served with the Complaint.
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Case 2:21-cv-02382-GAM Document1 Filed 05/25/21 Page 2 of 20

4. This Notice of Removal is being filed within thirty (30) days after Plaintiff served
Removing Defendant with the formal Complaint, thereby enabling Removing Defendant to
ascertain that this case is one which has become removable in accordance with 28 U.S.C. §
1446(b). See Murphy Bros., Inc. Michetti Pipe Stringing, Inc. 526 U.S. 344 (1999); Sikirica v.
Nationwide Insurance Co., 416 F.3d Cir. 2005).

5. Pursuant to 28 U.S.C. § 1446(d), upon filing this Notice of Removal, Removing
Defendants will file a Notice of Removal in the State Court Action pending in the Common
Pleas Court of Delaware County, Pennsylvania and will provide written notice to Plaintiff. A true
and correct copy of the Removing Defendants’ Notice of Filing of Removal is annexed hereto as
Exhibit “B.”

DIVERSITY OF CITIZENSHIP EXISTS UNDER 28 U.S.C. § 1332

6. Upon information and belief, at all times relevant hereto, Plaintiff is and was a
citizen of the State of Delaware residing at 1128 Chestnut Street, Wilmington, DE, 19805. See
Complaint, Exhibit A § 1.

7. At all times relevant hereto, Defendant, Lastwagen International, Inc., is and was
a Canadian corporation organized and existing under the laws of the providence of Ontario with
its principal place of business in Ontario at 349 Kenora Avenue, Hamilton, Ontario, L3E2W8.
See id. 4 1.

8. At all times relevant hereto, Defendant, Keith McGuire, is and was a citizen of the

providence of Ontario, Canada, residing at 152 Henry Street, Stirling, Ontario, KOK3E0. See id.

qi.

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Case 2:21-cv-02382-GAM Document1 Filed 05/25/21 Page 3 of 20

9. Diversity of citizenship existed at the time the action sought to be removed was

commenced and continues through the time of filing of this Notice.
AMOUNT IN CONTROVERSY EXCEEDS $75,000

10. Great West Casualty Company, the insurer for defendants, McGuire and LII, has
been advised by Plaintiff and her counsel that she has had months of physical therapy to
conservatively treat her cervical complaints. Thereafter, she started treating with an orthopedic
doctor and has received 3 rounds of injections to her cervical spine. As a result of the failed
cervical injections, Plaintiff has received pain management treatment including nerve ablation
procedures and Botox injections which she continues to receive. In addition, surgery has been
recommended, but not yet received.

11. It is further noted that Plaintiff is on Social Security and, as a result, it is
anticipated that there will be a Medicare lien for her treatment.

12. After receipt of the defense of this matter, the undersigned communicated with
Plaintiff's counsel to see if Plaintiff would stipulate that the value of her case was less than
$75,000.00. In response, Matthew Bilker, Esquire, advised by email that he could not agree
to stipulate damages under $75,000 because Plaintiff is still actively treating. A true and
correct copy of said email correspondence is attached hereto as Exhibit “C.”

13. Based on the aforementioned injuries, it appears that this case has an amount in

controversy in excess of $75,000.00 exclusive of interest and costs.

14. As such, the amount in controversy exceeds the jurisdictional threshold required

by 28 U.S.C. § 1332(a).

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DIVERSITY JURISDICTION IS SATISFIED
AND VENUE IS PROPER

15. Based upon the above, this Court has original subject matter jurisdiction over this
action pursuant to 28 U.S.C. § 1332, 28 U.S.C. §1441 and 28 U.S.C. § 1446.

16. Venue is proper in that the events or omissions giving rise to the claim occurred
in Delaware County, Pennsylvania, which is situated in this Judicial District. See 28 U.S.C. §
1391(b)(2).19, Removing Defendants will promptly file a copy of this Notice with the Clerk of
the Court of Common Pleas in Delaware County, Pennsylvania in the State Court Action as
required by 28 U.S.C. § 1446(d) and provide written notice to Plaintiffs.

17. Defendants LII and McGuire consent to removal of this matter.

WHEREFORE, Petitioner prays that the above-captioned action, now pending against it
in the Delaware Court of Common Pleas, be removed therefrom to this Court.

SALMON, RICCHEZZA, SINGER & TURCHI LLP

By: _jaeugh Liickeyye [may

idseph A. Ricchezza, Esq. (PA ID #66171)
1601 Market Street, Suite 2500
Philadelphia, PA 19103
(215) 606-6600
Attorneys for Defendant,
Lastwagen International, Inc.

Date: May 25, 2021

{00405626.DOC}
Case 2:21-cv-02382-GAM Document1 Filed 05/25/21 Page 5 of 20

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BERNEDA GILMORE
CIVIL ACTION NO.: 21-2397
Plaintiff,
JURY TRIAL DEMANDED
V.
LASTWAGEN INTERNATION, INC. ; CERTIFICATE OF SERVICE
and KEITH MCGUIRE :
Defendants.

 

I, Joseph A. Ricchezza, Esquire, hereby certify that the foregoing Notice of Removal was
served on this 25" day of May 2021, via U.S. First Class Mail upon the following counsel of
record:

Leonard A. Sloane, Esquire

Matthew Bilker, Esquire

Eckell, Sparks, Levy, Auerbach, Monte, Rainer & Sloane, P.C.
344 West Front Street

Media, PA 19063

Attorneys for Plaintiff, Berneda Gilmore

I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements by me are willfully false, I am subject to punishment.

SALMON, RICCHEZZA, SINGER & TURCHI LLP

By:  /s/Joseph A. Ricchezza
Joseph A. Ricchezza, Esquire
Attorney ID #66171
1601 Market Street, Suite 2500
Philadelphia, PA 19103
(215) 606-6600
Attorneys for Defendant, Lastwagen
International, Inc.

Date: May 25, 2021
{00405626.DOC}
Case 2:21-cv-02382-GAM Document1 Filed 05/25/21 Page 6 of 20

EXHIBIT “A”
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DCKELL, SPARKS, LEVY, AULRBACH, MONTE,
SLOANE, MATTHEWS & AUSLANDER, P.C.
Leonard A. Sloane, Esquire

LD, No.: 21271

Matthew J. Bilker, Esquire

I.D, No.: 311284

300 W. State Street, Ste. 300

 

P.O. Box 319
Media, PA 19068
(610) 566-3700 ATTORNEYS FOR PLAINTIFFS
COURT OF COMMON PLEAS OF DELAWARE COUNTY, PENNSYLVANIA
CIVIL ACTION - LAW

BERNEDA GILMORE ;
1128 Chestnut Street ;
Wilmington, DE 19805 : NO, CV-2021-002397

Plaintiff ‘

ve
JURY TRIAL DEMANDED
KEITH MCGUIRE -
152 Henry Street ;
Stirling, Ontario, KOK 310, Canada :
and :

LAST WAGEN INTERNATIONAL, INC,
349 Kenora Avenue :
Hamilton, ON L8E 2W3, Canada :

Defendants '

COMPLAINT

1. Plaintiff, Berneda Gilmore, is an adult individual residing at 1128 Chestnut Street,
Wilmington, DE 19805.

2, Defendant, Keith McGuire, is an adult individual who resides at 152 Henry Street,
Stirling, Ontario, KOK 380, Canada.

3. Defendant Lastwagen International, Inc. (hereinafter “Lastwagen”), is a Canadian
corporation duly authorized to conduct business in the Commonwealth of
Pennsylvania.

4. At all times relevant and material hereto, Defendant, Lastwagen, owned a Peterbilt
Tractor Trailer, being operated by Defendant, Keith McGuire, with permission and/or

acting in his capacity as agent, servant, workman and/or employee of Defendant,
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Lastwagen, and within the course and scope of his employment with Defendant,
Lastwagen.

At all times material and relevant hereto, Plaintiff, Berneda Gilmore, controlled and
operated a black 2018 Hyundai Elantra.

On or about March 13, 2019, Plaintiff, Berneda Gilmore, was operating the black,
2018 Hyundai Elantra, proceeding northbound along I-95 near the Kerlin Street exit
in Chester, Delaware County, Pennsylvania, traveling at a speed of approximately 5
mph,

At the same time and place, Defendant, Keith McGuire, who was operating a tractor
trailer, owned by Lastwagen, proceeded northbound behind Plaintiff on I-95, in
Chester, Delaware County, Pennsylvania.

At all times relevant and material hereto, it is believed, and therefore averred, that
Defendant, Keith McGuire, was fatigued, exhausted and/or otherwise
inappropriately inattentive as a result of his driving schedule.

At the aforementioned location, Defendant, Keith McGuire, an alleged professional
driver, recklessly and/or negligently and suddenly and without warning, struck the

rear of Plaintiff's vehicle.

COUNT I

Plaintiff, Berneda Gilmore vy. Defendants, Keith McGuire and Lastwagen International,

10.

il.

Inc.

Plaintiff hereby incorporates by reference the preceding paragraphs as though
fully set forth at length herein.
At all times material and relevant hereto, the reckless, negligent and/or careless
acts and/or omissions of Defendant, Keith McGuire, consisted of, but were not

limited to, the following:

[1280122/1] 2

 
Case 2:21-cv-02382-GAM Document1 Filed 05/25/21 Page 9 of 20

d.

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mM.

Operating a motor vehicle with negligent and/or a careless disregard
for others therein upon the roadway at that time, such as Plaintiff,

the rights and safety of others therein upon the roadway;

Failing to keep his vehicle under proper and adequate control;
Operating a motor vehicle at an excessive rate of speed under the
circumstances;

Failing to keep a proper lookout;

Driving in a careless manner;

Failing to exercise proper control over his vehicle;

Failing to bring his vehicle to a stop to avoid the accident;

Failure to operate the vehicle with due care under the existing
circumstances;

Failure to pay attention to the flow of traffic;

Failure to keep a proper lookout for other motorists;

Failure to stop within the assured clear distance ahead: and
Operating the vehicle so as to create an unreasonable risk of bodily
harm to another to a degree of probability that substantial harm could

result.

12. As a direct and proximate result of the negligent and/or careless acts, and/or

omissions of the Defendants, Keith McGuire and Lastwagen International as

hereinbefore alleged, Plaintiff, Berneda Gilmore, sustained serious personal injuries

which were either caused by, and/or aggravated by, the collision, including, but not

limited to: an acute cervical strain and sprain with associated migraine headaches,

cervical facet syndrome, thoracic and scapular strain and sprain, and right shoulder

calcific tendinitis and bursitis.

[1280122/1] 3

 
13.

14.

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As a further proximate cause of this accident, Plaintiff, Berneda Gilmore, has been,
or will be, obligated to receive, and undergo medical attention and care, and/or to
expend various sums of money and/or to incur various expenses which have and/or
may exceed the sums recoverable under the limits in 75 P.S. Section 1711, and/or
may be obligated to continue to expend such sums and/or incur such expenditures
for an indefinite time in the future.

As a result of the negligence and/or carelessness of the Defendants, Keith McGuire,
and Lastwagen International, as set forth above, Plaintiff, Berneda Gilmore, has
sustained serious injuries, including, but not limited to, serious impairments of a
body functions, endured physical pain, suffering, mental anguish and inconvenience
and will continue to endure such physical pain, suffering, mental anguish and
inconvenience for an indefinite time in the future, all to her great detriment and

loss.

WHEREFORE, Plaintiff, Berneda Gilmore, demands judgment in her favor and

against the Defendants, Keith McGuire, and Lastwagen International, Inc., individually

and severally, in an amount in excess of Fifty Thousand ($50,000.00), together with

interest, costs, punitive damages and delay damages.

15.

16,

COUNT II

Plaintiff, Berneda Gilmore y. Defendant, Lastwagen International, Inc.

 

Plaintiff hereby incorporates by reference the preceding paragraphs as though
fully set forth at length herein.

In addition to yvespondeat superior/vicarious liability, the recklessness,
negligence, and/or carelessness of Defendant, Lastwagen International, Inc.

consisted of the following:

[1280122/1] 4
Case 2:21-cv-02382-GAM Document1 Filed 05/25/21 Page 11 of 20

(a)  Recklessly, negligently and/or carelessly entrusting the vehicle to
another operator for use when it knew, or within the reasonable
exercise of due care, should have known on the date of the accident,
that the operator was incompetent, inexperienced, or otherwise
incapable of safely and properly operating said vehicle;

{b)  Recklessly, negligently and/or carelessly entrusting a motor vehicle to
another person, creating an appreciable risk of harm to all others,
including the Plaintiff;

(c)  Recklessly, negligently and/or carelessly entrusting a motor vehicle to a
person which it knew, or in the exercise of reasonable care, should have
known, was going to drive the vehicle in an improper, and dangerous
manner) and.

(d) Recklessly, negligently and/or carelessly entrusting a motor vehicle to a
person, she knew, or in the exercise of reasonable care, should have
known, should have been prohibited by law from operating vehicles on
Pennsylvania highways at the time due to his condition.

17.As a divect and proximate result of the negligent and/or careless acts, and/or
omissions of the Defendants as hereinbefore alleged, Plaintiff, Berneda Gilmore,
sustained serious personal injuries which were either caused by, and/or aggravated
by, the collision, including, but not limited to: an acute cervical strain and sprain
with associated migraine headaches, cervical facet syndrome, thoracic and scapular
strain and sprain, and right shoulder calcific tendinitis and bursitis.

18. As a further proximate cause of this accident, Plaintiff, Berneda Gilmore, has been,

or will be, obligated to receive, and undergo medical attention and care, and/or to

[1280122/1] 5
19,

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expend various sums of money and/or to incur various expenses which have and/or
may exceed the sums recoverable under the limits in 75 P.S, Section 1711, and/or
may be obligated to continue to expend such sums and/or incur such expenditures
for an indefinite time in the future.

As a result of the negligence and/or carelessness of the Defendants, Keith McGuire,
and Lastwagen International, as set forth above, Plaintiff, Berneda Gilmore, has
sustained serious injuries, including, but not limited to, serious impairments of a
body functions, endured physical pain, suffering, mental anguish and inconvenience
and will continue to endure such physical pain, suffering, mental anguish and
inconvenience for an indefinite time in the future, all to her great detriment and

loss.

WHEREFORE, Plaintiff, Berneda Gilmore, demands judgment in her favor and

against the Defendants, Keith McGuire, and Lastwagen International, Inc., individually

and severally, in an amount in excess of Fifty Thousand ($50,000.00), together with

interest, costs, punitive damages and delay damages.

ECKELL, SPARKS, LEVY, AUERBACH, MONTE,
SLOANE, MATTHEWS & AUSLANDER, P.C.

     

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Bop kt ih EG Kee 7
atthew J . Bilker, Esquire
Attorney for Plaintiff

BY:

 

[1280122/1] 6

 

 
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EXHIBIT “B”
Case 2:21-cv-02382-GAM Document1 Filed 05/25/21 Page 15 of 20

SALMON RICCHEZZA SINGER & TURCHI LLP
By: Joseph A. Ricchezza, Esq. (PA ID #66171)
1601 Market Street, Suite 2500

Philadelphia, PA 19103

(215) 606-6600

Attorneys for Defendant,

Lastwagen International, Inc.

 

BERNEDA GILMORE
CIVIL ACTION NO.: 21-2397

Plaintiff,
JURY TRIAL DEMANDED

Vv.

LASTWAGEN INTERNATION, INC.
and KEITH MCGUIRE

Defendants.

 

To the Clerk of the Court:
Pursuant to 28 U.S.C. §1446(D), Defendant, Lastwagen International, Inc., file herewith
a copy of the Notice of Removal which was filed in the United States District Court for the

Eastern District of Pennsylvania.

SALMON, RICCHEZZA, SINGER & TURCHI, LLP

/s/[

Joseph A. Ricchezza., Esquire
Attorneys for Defendant,
Lastwagen International, Inc.

By:

 

Dated: May 25, 2021
Case 2:21-cv-02382-GAM Document1 Filed 05/25/21 Page 16 of 20

SALMON RICCHEZZA SINGER & TURCHI LLP
By: Joseph A. Ricchezza, Esq. (PA ID #66171)
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Philadelphia, PA 19103

(215) 606-6600

Attorneys for Defendant,

Lastwagen International, Inc.

 

BERNEDA GILMORE
CIVIL ACTION NO.: 21-2397
Plaintiff,
JURY TRIAL DEMANDED
Vv.

LASTWAGEN INTERNATION, INC.
and KEITH MCGUIRE

Defendants.
It is hereby certified that a true and correct copy of the within captioned Notice of
Removal Pursuant to 28 U.S.C. §1446(D) was served via First Class Mail on the below counsel
for plaintiff:

Leonard A. Sloane, Esquire

Matthew Bilker, Esquire

Eckell, Sparks, Levy, Auerbach, Monte, Rainer & Sloane, P.C.
344 West Front Street

Media, PA 19063

Attorneys for Plaintiff, Berneda Gilmore

SALMON, RICCHEZZA, SINGER & TURCHI LLP

By: Saucer frtclonn| ae

foseph A. Ricchezza, Esquite
1601 Market Street, Suite 2500
Philadelphia, PA 19103

(215) 606-6600

Attorneys for Defendant,
Lastwagen International, Inc.

Dated: May 25, 2021
Case 2:21-cv-02382-GAM Document1 Filed 05/25/21 Page 17 of 20

EXHIBIT “C”
Case 2:21-cv-02382-GAM Document1 Filed 05/25/21 Page 18 of 20

Natalie Orsimarsi

From: Bilker, Matt <mbilker@eckellsparks.com>
Sent: Thursday, March 25, 2021 1:14 PM

To: Joe Ricchezza

Ce: Natalie Orsimarsi

Subject: RE: Gilmore, Berneda

Joe,

| have spoken with my client —| do not believe we are in position to agree that the case is worth less than the
jurisdictional limits at this point.

Matthew J. Bilker, Esquire

Eckell, Sparks, Levy, Auerbach, Monte,
Sloane, Matthews & Auslander, P.C.
300 West State Street, Suite 300

Media, PA 19063

Phone: 610-565-3700 ext. 252

Delaware County Daily Times, Best Lawyer
Readers’ Choice, 2020

Super Lawyers, Pennsylvania 2020
Rising Stars — General Litigation

 

 

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written advice, the taxpayer should seek advice based on the taxpayer's particular circumstances from
an independent tax advisor.

kee

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you very much.

From: Joe Ricchezza <Jricchezza@srstlaw.com>
Sent: Wednesday, March 17, 2021 9:49 AM

To: Bilker, Matt <mbilker@eckellsparks.com>
Cc: Natalie Orsimarsi <norsimarsi@srstlaw.com>
Subject: RE: Gilmore, Berneda

Hi Matt,
Case 2:21-cv-02382-GAM Document1 Filed 05/25/21 Page 19 of 20

As | mentioned we will likely remove this case to federal court once the complaint is filed. Would you be
willing to stipulate that the case is worth less than $75K to avoid the removal? | have done this in the past so
we don’t waste time and effort going into federal court if the case does not warrant same.

Let me know.
Thanks.

Joe

From: Joe Ricchezza

Sent: Monday, March 15, 2021 11:35 PM
To: mbilker@eckellsparks.com

Subject: Gilmore, Berneda

Matt,

| have been retained to represent Lastwagen International and Keith Mcguire in the above matter. |
understand that you filed a Writ on 3-9. Please let me know if the writ was served on my clients. Also, will
you be filing a Complaint now? If not, | have been instructed to file a Rule once service is made.

| look forward to hearing from you. My contact information is below for your records.
Thanks.

Joe

Joseph Ricchezza, Esquire

SALMON, RICCHEZZA, SINGER & TURCHI, LLP
Tower Commons

123 Egg Harbor Road - Suite 406

Sewell, NJ 08080

(856) 842-0771 (direct)

(856) 354-8074 (main)

(856) 354-8075 (fax)

- and -

Our new Philadelphia Address:
1601 Market Street

Suite 2500

Philadelphia, PA 19103

(215) 606-6603 (direct)

(215) 606-6600 (main)

(215) 606-6601 (fax)

 

KKK EKER KERR KIRKE EEE RH ERE EKER KKK ER KKK EERE KHEERKKEKERK KKEKKKKKKKKKEKCKKKER

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2
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